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                     UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
______________________________________
                                        )
In re: DAVID E. GRAVLIN,                )
                                        )        Case No.: 17-41417
                   Debtor               )        Chapter 13
______________________________________ )



   JOINT PRE-TRIAL MEMORANDUM REGARDING THE MOTION OF LORA
FICKETT TO DISMISS CASE AND THE OBJECTION OF LORA FICKETT TO THE
          CONFIRMATION OF THE DEBTOR’S CHAPTER 13 PLAN

     The Parties submits the following pre-trial memorandum in the above-captioned matter:

  A. Jurisdiction

     The parties acknowledge that this Court has jurisdiction over these matter and consent to

     the entry of final order by this Court.

  B. Witness Information

     Debtor:

            David E. Gravlin
            111 Chase Road
            Lunenburg, MA 01462

            Lora Fickett
            36 Bulkeley Road
            Littleton, MA 01460

     Creditor:

            David E. Gravlin
            111 Chase Road
            Lunenburg, MA 01462

            Errika Gravlin
            33 Laurel Lane
            Groton, MA 01450
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              Lora Fickett
              36 Bulkeley Road
              Littleton, MA 01460


    C. Witness Testimony

       Debtor does not intend to introduce any evidence by way of deposition.

       Creditor does intend to introduce evidence by way of transcript from previous court

hearings in bankruptcy and probate court.

    D. Expert Witnesses

       Debtor does not intend to call any expert witnesses.

       Creditor does not intend to call any expert witnesses.

    E. Exhibits

       Debtor:

              1. Debtor’s Bankruptcy Petition, Schedules, Statement of Financial Affairs and

                  Chapter 13 Plan;

              2. Foxwood’s Win/Loss Statements for the years 2013 – 2018;

              3. All Financial Statements for both parties relating to Middlesex Probate Court

                  Docket no. 11D1940;

              4. Memorandum and Judgment on Complaints for Modification Filed June 16,

                  2014 and August 2016 re: Middlesex Probate Court Docket no. 11D1940;

              5. Marital Separation Agreement dated October 17, 2011 re: Middlesex Probate

                  Court Docket no. 11D1940;

              6. Amended Memorandum of Decision dated April 23, 2015 re: Middlesex

                  Probate Court Docket no. 11D1940;
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           7. Motion to Stay Enforcement of Child Support and Monetary Orders Pending

                Appeal and all related Exhibits re: Middlesex Probate Court Docket no.

                11D1940;

           8. Memorandum and Orders dated December 8, 2016 re: Middlesex Probate

                Court Docket no. 11D1940; and,

           9. Letter from MDOR Child Support Enforcement Division dated August 29,

                2018

    Creditor:

           1. Debtor’s Bankruptcy Petition, Schedules, Statement of Financial Affairs and

                Chapter 13 Plan;

           2. Foxwood’s Win/Loss Statements for the years 2013 – 2018;

           3. All Financial Statements for both parties relating to Middlesex Probate Court

                Docket no. 11D1940;

           4. Marital Separation Agreement dated October 17, 2011 re: Middlesex Probate

                Court Docket no. 11D1940;

           5. Amended Memorandum of Decision dated April 23, 2015 re: Middlesex

                Probate Court Docket no. 11D1940;

           6. Memorandum and Orders dated December 8, 2016 re: Middlesex Probate

                Court Docket no. 11D1940; and,

           7. Letter from MDOR Child Support Enforcement Division dated August 29,

                2018

           8. Errika Gravlin’s financial statement dated March 30, 2017 re: Middlesex

                Probate Court Docket no. 15D0076;
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              9. David and Errika Gravlin’s separation agreement re: Middlesex Probate Court

                  Docket no. 15D0076;

              10. David Gravlin most recent Credit Report;

              11. David Gravlin Jr. 2017 W-2 and 1099-MISC from Gravlin Stoneworks;

              12. Probate court docket sheet re: Middlesex Probate Court Docket no. 11D1940;

              13. Restraining order violation summons re: Ayer District Court Docket no.

                  1348CR001565

              14. Arbitrator decision and award dated March 2014 re: Middlesex Probate Court

                  Docket no. 11D1940;

              15. Forensic report on David Gravlin Jr. in relation to arbitration in 2014 re:

                  Middlesex Probate Court Docket no. 11D1940;

              16. Any and all documents previously filed with Motion to Dismiss, Objection to

                  Confirmation of the Plan and Proof of Claims on behalf of the creditor



    F. Statement of Objections for Deposition

        Debtor: n/a

        Creditor: n/a

    G. Exchange of Exhibits

    H. Admitted Facts

       The Parties agree that the parties were divorced pursuant to a final judgment of the

Middlesex Probate Court. The parties acknowledge that the Debtor is in arrears on child support

payments due to the Creditor. The parties further acknowledge that the Debtor owes the Creditor

other monies relating to Probate Court Orders.
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  I. Issues of Fact Remaining to Be Litigated

    The following issues of facts remain to be litigated:

        1. The amount of past due child support as of the date of filing;

        2. Whether the Debtor is an employee or owner of Gravlin Stoneworks;

        3. The amount of the Debtor’s regular income, expenses and debt obligations to

            other creditors;

  J. Issues of Law

    The following issues of law remain to be determined:

        1. Whether the creditors Proof of Claims are general unsecured debts, or whether

            they should be treated as priority claims in the Debtor’s Chapter 13 Plan.

  K. Statement Summarizing Debtor’s Case

     The Debtor and the Creditor were married in June 1999 and they separated in October 0f

     2011. There are three minor children from that marriage. The parties owned three (3)

     properties at the time of their separation and divorce. The marital home was conveyed to

     the Creditor. The two remaining property were sold and the proceeds went to the

     Creditor.

     Throughout the last 7 years custody arrangement of the individual children has varied –

     currently, the Creditor has primary custody of two of the children have custody of the

     third child.

     The parties have had a very contentious divorce, resulting in several contempt motions

     and orders. The Debtor has been found in contempt and sentenced to jail time twice – the

     first was for failure to pay the Creditor’s legal fees. The Debtor obtained these funds

     from his grandmother and the contempt order was lifted. The Second contempt was for
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     failing to make sufficient child support payments and he was ordered incarcerated for

     sixty days. This Order was vacated by the Massachusetts Supreme Judicial Court as that

     Court determined that he did not pay because he did not have the ability to do so, not

     because there was “clear and undoubted disobedience”. This is not an issue of bad faith,

     but rather a matter of lack of funds.

     This contentiousness has also trickled down to the children. While both parties are

     involved in the issues with the children, the Court clinician has determined that “Ms.

     Fickett is engaged in ‘ongoing, active alienation’ “of the children’s relationship with the

     Debtor. The Debtor believes that the Creditor’s actions in this Motion and Objection are

     merely an extension of this behavior and that they were not filed in good faith.

     In July 2017, two months prior to the filing of this Chapter 13 case, the Middlesex

     Probate Court entered a modification of support Order. Said Order requires the Debtor to

     pay the Creditor $16.00 per week in child support, in addition to $100.00 per week

     toward arrears. The Debtor continues to make these payments. There is no mention of

     the property settlements, nor any discussion of alimony, in the Court’s order of July

     2017. A review of the records in that proceeding reveal no statements that these property

     settlements were in lieu of alimony. Therefore, they should be treated as general

     unsecured debts. As such, the Debtor is able to propose a confirmable Chapter 13 plan,

     in good faith, which would be in the best interest of all parties.

  L. Statement Summarizing Creditor’s Case

     The Debtor and the Creditor were married in June 1999 and they separated in October 0f

     2011. There are three minor children from that marriage. The parties owned three (3)

     properties at the time of their separation and divorce. The marital home encumbered by a
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     substantial mortgage with an estimated $59,000 in equity was conveyed to the Creditor.

     The debtor received his Lunenburg residence which had no mortgage at the time of

     separation, after the residence was sold below market value; the creditor received her

     share in the equity of that home. The third Maine property was sold without a gain; as

     such neither party received any monies from the sale.

     The current custody arrangement of the individual children is as follows. The debtor has

     abandoned the oldest child, now age 17, with no contact or visitation with her in the past

     6 years. The debtor has abandoned the second child, now age 15, with no contact or

     visitation with him in the past 5 years. The youngest child, now age 14, has chosen to

     reside with the debtor and with frequent visits to the creditor throughout the week as

     school and sports allow.

     The parties have had a very contentious divorce, initial court issues arose from the

     debtor’s attempted murder of the creditor, sitting across the street from the creditors

     home with a loaded shotgun and the creditor’s filing of a restraining order. The debtor

     was arrested on one occasion for violating the restraining order to which he was put on

     probation by the district attorney. Later, stop payment of child support and other

     financial obligations by the debtor resulted in 18 contempt motions and orders and 2

     incarcerations, both for nonpayment of child support. The Debtor has sentenced to jail

     time twice – the first was for failure to pay child support after the debtor was found to

     have been paying his legal fees. The Second was two months after the first and again it

     was for failing to make sufficient child support payments and he was ordered

     incarcerated for sixty days. This Order was vacated by the Massachusetts Supreme
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     Judicial Court as that Court determined the debtor requested an evidentiary hearing on

     his ability to pay.

     Some contempt charges are clearly a result of bad faith in that they do not relate to

     financial matters, the debtor has the ability to comply, such as applying for life insurance

     or producing document request for trial, but the debtor has refused to comply thus

     finding himself in contempt of court for “clear and undoubted disobedience”. Other

     contempt charges relate to his having the ability to pay his obligations but refusing to do

     adhere to the court orders.

     The debtor filed bankruptcy in 2013 where again the creditor was the creditor of

     significant consequence and that filing was cited in bad faith and dismissed. The debtor

     has had the ability to pay the obligations in question in the past and has always refused.

     The debtor’s pre-petition conduct towards the credit has been improper and the filing of

     the petition effectively allows the debtor to evade court orders.

     The debtor has owned a Gravlin Masonry business since 1990 after he took over the

     business from his father who had owned and operated the business for the previous

     approximately 20 years. In April 2013, the ownership of the company changed hands to

     Errika Gravlin and the name was changed to Gravlin Stoneworks. Errika has no

     masonry or construction background and has admitted in a previous court hearing that no

     work is done without the Debtor. It is the creditor’s believe that the ownership was

     changed to hide half of the income of the business in Errika Gravlin’s name and the

     debtor could operate the business entirely on his own claiming the entire income. As the

     debtor and Errika were married at the time of the business transfer, this was not an arm’s

     length transaction.
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     In July 2017, two months prior to the filing of this Chapter 13 case, the Middlesex

     Probate Court after finding the debtor in contempt for not providing requested discovery

     for trial to determine his income, entered a modification of support Order. Said Order

     requires the Debtor to pay the Creditor $16.00 per week in child support, in addition to

     $100.00 per week toward arrears. The Debtor makes the $16 a week payments and no

     other payments to the creditor. Once the arrears in the child support are paid or at the

     emancipation of the youngest child, the court has ordered the debtor is to make payments

     to the other obligations in arrears in the amount of $200 a week. The debtor is not

     currently paying the $1,000 per month domestic support obligation in question with

     Proof of Claim 9. The July 2017 is pending appeal.

     It is the creditor’s belief that this petition is not in her best interest. The debtor has had

     the ability to pay, the probate court has been lenient on payment plans that allow him to

     pay and yet he still refuses to pay. In addition, the amount of times the debtor has been

     found in contempt show the debtors lack of respect for judge, the court and court orders.

     She also believes that the filing is done in bad faith based on the debtor’s conduct

     towards her, his obligations, and his desire to evade court orders.



  M. Estimated Length of Trial

     Debtor and Creditor estimate the trial will take one day in its entirety.



/s/ Wendy M.Mead                               /s/ Lora Fickett
____________________________                   __________________________________
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